Case 0:19-cv-62616-RKA Document 1 Entered on FLSD Docket 10/21/2019 Page 1 of 5




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.:

 UNITED STATES OF AMERICA,

                Plaintiff,

 vs.

 1984 CESSNA 550 CITATION II JET
 AIRCRAFT WITH SERIAL NO. S550-0020
 AND REGISTRATION NO. YV3325

                Defendant In Rem.
 - - - - - - -- -- - -- - - - -I
                    VERIFIED COMPLAINT FOR FORFEITURE IN REM

        Plaintiff, United States of America, by and through the undersigned Assistant United States

 Attorney for the Southern District of Florida, hereby files this civil complaint for forfeiture in rem

 and alleges as follows:

         1.     This is a civil action in rem for the forfeiture of one 1984 Cessna 550 Citation II Jet

 Aircraft with serial number S550-0020 and registration number YV 3325 ("Defendant Aircraft"),

 currently located at the Fort Lauderdale Executive Airport.

        2.      The Court has jurisdiction over this subject matter pursuant to Title 28, United

 States Code, Sections 1345 and 1355.

        3.      The Court has in rem jurisdiction over the Defendant Aircraft pursuant to Title 28,

 United States Code, Section 1355.

        4.      The Court has venue over this action pursuant to Title 28, United States Code,

 Sections 1355 and 1395.
Case 0:19-cv-62616-RKA Document 1 Entered on FLSD Docket 10/21/2019 Page 2 of 5




                                   FACTUAL ALLEGATIONS

         5.     On or about September 20, 2019, the Defendant Aircraft arrived at Fort Lauderdale

 Executive Airport from Caracas, Venezuela. On board were two Venezuelan nationals, Victor

 Fossi Grieco (the "Pilot") and Jean Carlos Sanchez Rojas (the "Passenger"), among other persons.

        6.      The Pilot told United States Customs and Border Protection ("CBP") officers that

 he did not have anything to declare. The Passenger declared that he and his wife were carrying

 $24,000 in United States currency, but did not declare any other items.

        7.      CBP officers conducted an examination of the Defendant Aircraft at Fort

 Lauderdale Executive Airport, during which one officer observed loose rivets and missing screws

 on the nose compartment of the Defendant Aircraft. Upon further examination inside the nose

 compartment of the Defendant Aircraft, the officers discovered a concealed compartment, also

 known as a "trap," underneath flat sheet metal. The trap held bags containing gold bars that

 weighed approximately 230 pounds.

        8.      The Pilot and the Passenger admitted that they collected the gold bars in Venezuela

 to smuggle into the United States for a fee. They also admitted that they knew they had to declare

 the gold bars upon arrival in the United States, but chose not tb do so.

        9.      The Pilot and Passenger were subsequently arrested and charged by indictment in

 the Southern District of Florida with violations of Title 18, United States Code, Sections 542 and

 545, and conspiracy to commit a violation of Title 18, United States Code, Section 545, in criminal

 case number 19-60280-CR-ALTONAGA/SELTZER.

         10.    Lab analysis shows that the gold bars contained in the Defendant Aircraft weighed

 approximately 230 pounds, with an average purity of approximately 91.39 percent, and an

 approximate value of $4,611,363.66.



                                                  2
Case 0:19-cv-62616-RKA Document 1 Entered on FLSD Docket 10/21/2019 Page 3 of 5




         11.      The Defendant Aircraft is currently at Fort Lauderdale Executive Airport.

                                 LEGAL BASIS FOR FORFEITURE

         12.      Title 19, United States Code, Section 1595a(a) subjects to forfeiture

                  every vessel, vehicle, animal, aircraft, or other thing used in, to aid in, or to
                  facilitate, by obtaining information or in any other way, the importation,
                  bringing in, unlading, landing, removal, concealing, harboring, or
                  subsequent transportation of any article which is being or has been
                  introduced, or attempted to be introduced, into the United States contrary to
                  law, whether upon such vessel, vehicle, animal, aircraft, or other thing or
                  otherwise, may be seized and forfeited together with its tackle, apparel,
                  furniture, harness, or equipment.

        13.       Title 18, United States Code, Section 542 makes it unlawful to knowingly and

 intentionally attempt to introduce into the commerce of the United States imported merchandise

 by means of a fraudulent and false declaration, paper, and statement.

        14.       Title 18, United States Code, Section 545 makes it unlawful to knowingly and

 willfully, with the intent to defraud the United States, attempt to smuggle and clandestinely

 introduce into the United States, from a place outside thereof, any merchandise which should have

 been invoiced.

                                     CLAIM FOR FORFEITURE

        15.       The factual allegations in paragraphs 1 through 14 are realleged and incorporated

 by reference herein.

         16.      The Defendant Aircraft is subject to forfeiture pursuant to Title 19, Untied States

 Code, Section 1595a(a), as an aircraft used in, to aid in, or to facilitate, the importation, bringing

 in, unlading, landing, removal, concealing, or harboring gold bars, in an attempt to introduce them

 into the United States contrary to law.




                                                     3
Case 0:19-cv-62616-RKA Document 1 Entered on FLSD Docket 10/21/2019 Page 4 of 5




           WHEREFORE, the United States requests that this Honorable Court issue a warrant for

 arrest in rem for Defendant Aircraft; that due notice issue to enforce the forfeiture and to give

 notice to all interested parties to appear and show cause why the forfeiture should not be decreed;

 that the Defendant Aircraft be condemned and forfeited to the United States of America for

 disposition according to law; and for such other and further relief as this Court may deem just and

 proper.

                                              Respectfully submitted,

                                              ARIANA FAJARDO ORSHAN
                                              UNITED STATES  TORNEY


 DATE:      10/z.1 /J 1                BY:
                                                arienne . Rosen
                                              Assistant United States Attorney
                                              Court Id. No. A5502297
                                              U.S. Attorney's Office
                                              99 NE 4th Street, 7th Floor
                                              Miami, Florida 33132-2111
                                              Telephone: (305) 961-9338
                                              Facsimile: (305) 536-4089
                                              Adrienne.Rosen@usdoj.gov




                                                  4
Case 0:19-cv-62616-RKA Document 1 Entered on FLSD Docket 10/21/2019 Page 5 of 5




                                           VERIFICATION

           I, Catherina Birkeland, hereby verify and declare under penalty of perjury, pursuant to 28

   U.S .C. § 1746, that I am a Special Agent with Homeland Security Investigations (the "HSI"), that

   I have read the foregoing Verified Complaint for Forfeiture In Rem ("Verified Complaint") and

   know the contents thereof, and the matters contained in the Verified Complaint are true to my own

   knowledge, except that those herein stated to be alleged on information and belief and as to those

   matters I believe to be true.

          The sources ofmy knowledge and information and the grounds ofmy belief are the official
                     I



   files and records of the United States, information supplied to me by other law enforcement

   officers, as well as my investigation of this case, together with others, as a Special Agent of the

   HSI.

          I hereby verify and declare under penalty of perjury that the foregoing factual allegations

   are true and coITect to the best of my knowledge and belief.

          EXECUTED, on this 21 51 day of October, 2019.




                                                Catherina Birkeland
                                                Special Agent
                                                Homeland Security Investigations




                                                   5
